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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                       Case No. 1:09-CR-116

v.                                                              Hon. Paul L. Maloney

MATTHEW JAMES JONES,

               Defendant.
                                               /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on August 21, 2009, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Matthew James Jones pled guilty to Count 2 of the Indictment charging

him with attempt to manufacture methamphetamine, and he also pled guilty to a Superseding

Information charging him with attempt to manufacture methamphetamine. On the basis of the

record made at the hearing, I found that defendant was competent to enter the pleas of guilty and that

the pleas were knowledgeable and voluntary with a full understanding of each of the rights waived

by the defendant, that the defendant fully understood the nature of the charges and the consequences

of the pleas, and that the defendant's pleas had a sufficient basis in fact which contained all of the

elements of the offenses charged.




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               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Count 2 of the Indictment and to the Superseding Information be accepted, that the court

adjudicate the defendant guilty of those charges, and that the written plea agreement be accepted at,

or before, the time of sentencing.



Dated: August 24, 2009                                /s/ Hugh W. Brenneman, Jr.
                                                      HUGH W. BRENNEMAN, JR.
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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